485 F.3d 1052
    Tyler Chase HARPER, a minor, by and through his parents Ron and Cheryl HARPER; Ron Harper; Cheryl Harper; Keslie K. Harper, a minor, by and through her parents Ron and Cheryl Harper, Plaintiffs-Appellants,v.POWAY UNIFIED SCHOOL DISTRICT; Jeff Mangum; Linda Vanderveen; Penny Ranftyle; Steve McMillan; Andy Patapow, All Individually and in their official capacity as Members of the Board of the Poway Unified School District; Donald A. Phillips, Individually, and in his official capacity as Superintendent of the Poway Unified School District; Scott Fisher, Individually and in his official capacity as Principal of Poway High School; Lynell Antrim, Individually and in her official capacity as Assistant Principal of Poway High School; Ed Giles, Individually and in his official capacity as Vice Principal of Poway High School; David Lemaster, Individually and in his official capacity as Teacher of Poway High School; Does 1 through 20, Inclusive, Defendants-Appellees.
    No. 04-57037.
    United States Court of Appeals, Ninth Circuit.
    Filed April 23, 2007.
    
      Benjamin W. Bull, Esq., Alliance Defense Fund, Scottsdale, AZ, Kevin Theriot, Esq., Alliance Defense Fund, Leawood, KS, Timothy Chandler, Folsom, CA, Robert H. Tyler, Esq., Advocates for Faith and Freedom, Temecula, CA, for Plaintiffs-Appellants.
      Paul V. Carelli, IV, Esq., Jack M. Sleeth, Jr., Esq., Stutz Gallagher &amp; Artiano, San Diego, CA, for Defendants-Appellees.
      On Remand from the United States Supreme Court. D.C. No. CV-04-01103-JAH, Southern District of California, San Diego.
      Before STEPHEN REINHARDT, ALEX KOZINSKI, and SIDNEY R. THOMAS, Circuit Judges.
    
    
      1
      Prior report: ___ U.S. ___, 127 S.Ct. 1484, 167 L.Ed.2d 225.
    
    ORDER
    
      2
      Pursuant to the instructions of the Supreme Court, plaintiff Tyler Chase Harper's appeal is dismissed as moot.
    
    